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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

 M.D., by her next friend, Sarah R.           §
 Stukenberg, et al.,                          §
                                              §
          Plaintiffs,                         §
                                              §
 vs.                                          §            CIVIL ACTION NO. 2:11-CV-00084
                                              §
 GREG ABBOTT, in his official capacity        §
 as Governor of the State of Texas, et al.,   §
                                              §
          Defendants.                         §

                 ADVISORY TO THE COURT FROM DEFENDANT
         JAIME MASTERS, IN HER OFFICIAL CAPACITY AS COMMISSIONER
       OF THE TEXAS DEPARTMENT OF FAMILY AND PROTECTIVE SERVICES

To the Honorable Janis Graham Jack, United States District Court Judge:

         On March 26, 2022, the Court ordered the Texas Department of Family and Protective

Services (DFPS) to “bring all video interviews of girls in relation to The Refuge investigations to

the hearing” set for March 30, 2022 (ECF No. 1217). All such videos (the “Videos”) contain

highly sensitive information concerning not only the subjects of the Videos, but also about DFPS

investigations and potentially ongoing law enforcement investigations. As a result, the Videos are

highly confidential and protected from public disclosure under multiple sources of Texas law, e.g.,

Tex. Fam. Code § 264.408(a), as well as under the Confidentiality Orders entered in this case

(ECF Nos. 162, 838).

         To protect the privacy interests of the subjects of the Videos, as well as to ensure the

integrity of any ongoing investigations, DFPS requests that no copies be made of the Videos

brought to the Court on March 31, 2022. DFPS further requests that if the Court wishes to view

the Videos: (1) the Court shall order DFPS to allow the Court to view the Videos; (2) the Videos

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shall be reviewable by only the Court and the Monitors but not the Monitors’ staff; (3) any review

of the Videos by the Court or the Monitors be conducted in camera; (4) any excerpts from,

discussions of, or other materials derived from the Videos that are included in subsequent filings

also be filed under seal; and (5) any discussion of the content of the Videos be held only in a closed

courtroom.

       Further, if the Court wishes to have a copy of the Videos provided to it, DFPS further

requests that in addition to the above-listed five points, (1) the Court order DFPS to provide a copy

of the Videos to the Court; (2) that if any Videos are filed with the Clerk of Court, that they be

filed under seal; and (3) the Court maintain a single copy of the Videos and direct that no other

copies of the Videos be made.


                                           Respectfully Submitted,

                                           /s/ Karl Neudorfer
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                                           Attorneys for Defendant Jaime Masters, in her official
                                           capacity as Commissioner of the Texas Department of
                                           Family and Protective Services




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2022, a true and correct copy of the foregoing document
has been served via e-service and/or email on all parties of record.


                                         /s/ Karl Neudorfer
                                         KARL NEUDORFER




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